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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                      forthe
                                                        Western District of Texas
                                                                                                       2Ojg   SEp 20         i   IC:   5i
                  United States of America                              )
                                v.                                      )
                                                                        )       Case No.
                      1. April PEDROZA
                     2. Daniel PEDROZA                                  )
               3. Jose Efrain NEVAREZ-Orona                             )
                                                                               3:      1-O-                                                 i-9)
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best        of my knowledge and belief.
On or about the date(s) of                   September 18, 2019                in the county of               El Paso                       in the
      Western          District of              Texas             ,   the defendant(s) violated:

               Code Section                                                         Offense Description
8 U.S.C. 1324      (a)(l)(A)(v)(I), (a)(l)       knowingly, intentionally, and unlawfully conspired, combined, confederated,
(A)(ii) and (a)(1)(B)(i)                         and agreed together, and with others known and unknown, to commit
                                                 offenses against the unites States, namely: knowing and in reckless
                                                 disregard of the fact that an alien has come to, entered, and remained in the
                                                 United States in violation of law, did transport, move, and attempt to transport
                                                 and move such alien within the United States by means of transportation and
                                                 otherwise, in furtherance of said violation of law.


          This criminal complaint is based on these facts:
Charge    1:   DEFENDANT-i: April PEDROZA
Charge    1:   DEFENDANT-2: Daniel PEDROZA
Charge    1:   DEFENDANT-3: Jose Efrain NEVAREZ-Orona




           f   Continued on the attached sheet.
                                                                                                     /
                                                                                                              I 's signature

                                                                                           J se J. Navarro, Border Patrol        Agent
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:             09/20/2019
                                                                                                      Judge s signature

City and state:                           El Paso, Texas                                 Anne T. Berton, U.S. Magistrate Judge
                                                                                                  Printed name and title
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

PEDROZA-April
PEDROZA, Daniel

PEPT# PEPT190900685

09/20/2019

 FACTS       (CONTINUED)
On September 18, 2019, at approximately 10:00 a.m., the Clint Anti-Smuggling Unit (ASU) set up surveillance
at CC Bills gate which is located approximately 20 yards north of the International Border Fence and 2.6 miles
west of the Tornillo, Texas Port of Entry, which is the Western District of Texas. The CC Bills gate area is
located near Wingo Reserve Road and has been historically utilized by Transnational Smuggling Organizations
(TSOs) to smuggle illegal aliens. Furthermore, this area is mainly traveled by locals and farmers that live in the
immediate area. At approximately 10:25 a.m., ASU BPAs, working in plain clothes and in an unmarked vehicle,
observed an individual walking directly south of the border fence area. This tactic is typically used by alien
smugglers in an attempt to locate Border Patrol Units in the area before sending illegal aliens over the border
fence to be picked up. At approximately 10:30 a.m., a BPA assigned to Air Operations with the United States
Air Force, notified agents, that the same individual could be seen talking on a cell phone and brushing out his
foot prints.
At approximately 1:00 p.m., the Air Operations BPA observed two individuals, south of the border fence,
approximately 1.3 miles west of the Tornillo, Texas Port of Entry. A BPA responded to the area and found
several foot signs leading north from the border fence. At approximately 1:10 p.m., the ASU BPAs observed a
white GMC Yukon vehicle (SUV) driving west towards the CC Bills gate area. Additionally, the BPA assigned
to Air Operations, advised the ASU BPAs that there was a dark colored Jeep Grand Cherokee SUV going
north from the CC Bills gate area. The Air Operations BPA further stated that the GMC Yukon and the Grand
Cherokee SUV, both appeared to be driving in tandem.

The ASU BPAs began to follow the two vehicles and continued surveillance as they suspected that both
vehicles were transporting undocumented aliens. The ASU BPAs were able to catch up to the vehicles near
the intersection of Fabens South and Middle Island Road. The ASU BPAs observed that the Yukon was the
lead vehicle and the Grand Jeep Cherokee appeared heavily loaded from the rear. Additionally, both vehicles,
driving in tandem, appeared to be switching lanes abruptly, not completely stopping at red lights and not
keeping up with traffic. Furthermore, it appeared to the ASU BPAs, that the vehicles were taking an unusual
route of travel due to both vehicles by passing the Tornillo, Texas area turn off.

At approximately 1:45 p.m., BPAs initiated an Immigration stop on the Grand Cherokee at a roadside park on
Texas-20 in Fort Hancock, Texas by activating the emergency lights and sirens on their government vehicle.
The ASU BPAs approached the vehicle, driven by Defendant 1, later identified as PEDROZA-April. As the
BPA approached the vehicle, he was able to observe multiple individuals laying down on top of each other.
The individuals appeared to be wet and muddied from the waist down. The BPA identified himself as a U.S.
Border Agent, and stated that he was conducting an immigration stop. The immigration stop was conducted
approximately 0.5 mile north of the US/Mexico border. Defendant I claimed to be a United States Citizen and
provided a Texas Identification Card. The front seat passenger, Defendant 2, later identified as PEDROZA,
Daniel, claimed to be as United States Citizen and provided a Texas Identification Card. Defendant I then
stated that she didn't know the individuals inside the vehicle and that her husband, the driver of the GMC
Yukon, asked her to give them a ride.
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

PEDROZA-April
PEDROZA, Daniel

PEPT# PEPTI 90900685

09/20/2019

FACTS        (CONTINUED)
The BPAs then asked all the individuals to exit the vehicle and questioned each as to their citizenship and
nationality. The seven individuals all stated to be illegal in the United States and not in possession of any
immigration documentation allowing them to be or remain in the United States legally.

The BPAs then arrested Defendant 1 and Defendant 2 in connection to a possible alien smuggling scheme.
Defendant I and Defendant 2 were read their Miranda rights. Defendant I stated she understood her rights
and was willing to waive her rights to legal representation. Defendant 1 stated that she was willing to answer
questions at this time by signing government form 1-2 14. Defendant 2 stated that he understood his rights and
was not willing to answer any questions without the presence of an attorney.

Defendant 1 stated that she was asked by her husband, Defendant 2 and by the driver of the GMC Yukon,
Defendant 3, to assist in giving a ride to several individuals. Defendant 1 also gave phone consent to her
phone. Defendant 1 stated that she didn't know where they were going and that she was only following
Defendant 3's vehicle. Defendant I also stated that, earlier in the day, she picked up five (5) illegal aliens in
Tornillo, Texas. And that she had transported those illegal aliens to a Studio 6 hotel located at 11049 Gateway
Boulevard West, El Paso, Texas. Defendant I stated that the illegal aliens would be inside room #260.
Defendant 1, Defendant 2 and the illegal aliens where placed under arrest and transported to the Clint Border
Patrol Station to investigate their role in the smuggling scheme.

At approximately 1:45 p.m., ASU BPAs conducted an immigration stop on the second vehicle, a white GMC
Yukon. The ASU BPAs approached the vehicle, driven by Defendant 3, later identified as NEVAREZ-Orona,
Jose Efrain. As the BPA, approached the vehicle, he was able to observe multiple individuals laying down on
the vehicles folded seats. The BPA identified himself as a U.S. Border Agent, and stated that he was
conducting an immigration stop. The immigration stop was conducted approximately 0.5 mile north of the US/
Mexico border. Defendant 3 continued looking forward, refusing to make eye contact and grasping the steering
wheel very tightly. Defendant 3 refused to lower his window but instead opened the driver's door. The ASU
BPA, again, identified himself and questioned Defendant 3 as to his citizenship. Defendant 3 stated that he
was a Legal Permanent Resident and lived in Socorro, Texas. The BPA asked Defendant 3 if he could identify
the individuals in his vehicle and Defendant 3 stated that he did not know who the individuals were. The BPA
then questioned each of the passengers as to their citizenship and nationality. All the remaining passengers
stated that they were illegally present in the United States and not in possession of any immigration
documentation allowing them to be or remain in the United States IegaJly. At this point, Defendant 3 lowered
his head and began to nod his head side to side. And further stated, "I thought it would be easy picking them
up". At this time, the BPA told Defendant 3 that he was being detained for suspicion of alien smuggling.
Defendant 3 and the illegal aliens were placed under arrest and transported to the Clint Border Patrol Station
for further questioning and to investigate their role in the smuggling scheme.

At the station, all three Defendants were provided with their written Notice of Rights. Defendant I and
Defendant 3 consented to speak to the agents without the presence of a Lawyer. Defendant I and Defendant
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

PEDROZA-April
PEDROZA, Daniel

PEPT# PEPT1 90900685

09/20/2019

FACTS       (CONTINUED)
3 provided sworn statements describing their involvement in the alien smuggling scheme.
The following is DEFENDANT l's post Miranda statement, non-verbatim, as to her involvement in the
smuggling scheme:

Defendant 1 claims that Defendant 3 made arraignment with her and Defendant 2 to meet at a Studio 6 motel
to do a job. Defendant I claims the Job was to pick up wets "El jale era recojer mojados". Defendant I stated
that Defendant 3 gave her instructions of where to pick them up and where to drop them off. Defendant 1
claims she transported illegal aliens from the motel room to another location and then back to motel.
Defendant 1 claims that Defendant 3 rented the motel room. Defendant 1 states that Defendant 3 then made
arraignment to pick up and transport another group of illegal aliens near horizon. Defendant I stated she knew
they were illegal aliens from the location by the Border fence were she picked them up and because the
individuals were muddy. Defendant 1 claims that she was going to be paid $150.00 USD for picking up and
transporting the illegal aliens. Defendant I claims that Defendant 3 made arraignments with a smuggler that
goes by the name of "Lentes". Defendant I stated she was transporting seven illegal aliens and that
Defendant 3 was transporting the other eight illegal aliens. Defendant 1 claims she was supposed to take the
illegal aliens to an address in Clint, Texas. Defendant I claims that Defendant 3 had the address. Defendant I
claims she picked up aliens twice on the date of her arrest. Defendant I stated she transported a total of five
in the morning and seven when she was caught. Defendant I claims she had been paid in the past, by
smuggler named Alan, approximately $800.00 USD. Defendant I stated she had been sent screen shots, on
her phone, with an address out of Clint, Texas to transport illegal aliens on prior occasions. Defendant 1 stated
she knew it was illegal to transport, harbor or conspire to transport illegal aliens.

The following is DEFENDANT 3's post Miranda statement, non-verbatim, as to his involvement in the
smuggling scheme:

Defendant 3 stated that a smuggler, called "Alan", had instructed him to pick up and transport illegal aliens to
a hotel. Defendant 3 claimed that he was going to be paid $150.00 USD per illegal alien. Defendant 3 stated
that same smuggler, "Alan", had called on Monday morning and instructed him to pick up 4 individuals on
Alameda St. that had just crossed illegally. Defendant 3 claims he picked them up and took them to a Hotel 6
on Lomaland were he rented a room. Defendant 3 claims that he made arrangements with Defendant 1 and
Defendant 2 to pick up more individuals. Defendant 3 claims that Defendant I and Defendant 2, in a Jeep
Cherokee, went with him to the hotel to pick up and transport 2 illegal Aliens to a house in Horizon, Texas.
Defendant 3 stated that he made arraignment a smuggler, named Lentes, to pick up and transport
approximately 15 more illegal aliens. Defendant 3 claims he made arrangement with defendant 1 and
Defendant 2 to go to location, sent through the WhatsApp, to pick the illegal aliens. Defendant 3 claims he,
along with defendant 1 and Defendant 2, picked up and were transporting the illegal aliens. Defendant 3 stated
that on prior occasions, he had transported illegal aliens to a location at 11533 Allen Drive in Socorro, to a
location on Lockland Dr. and one to Dallas, Texas. Defendant 3 stated he got paid 2,200 US Dollars to
transport the illegal aliens to Dallas. Defendant 3 stated he knew it was illegal to transport, harbor or conspire
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

PEDROZA-April
PEDROZA, Daniel

PEPT# PEPTI 90900685

09/20/2019

 FACTS      (CONTINUED)
to transport illegal aliens.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.




Immigration History:
DEFENDANT 1 is a USC
DEFENDANT 2 is a USC
DEFENDANT 3 is a Legal Permanent Resident Card



Criminal History:
Defendant 1 Conviction on 05/05/2017 for importing Marijuana (Felony). 6 months prison / 60 months
probation.
Defendant 1 has a conviction on 03/07/2018 for Probation Violation: 6 months prison.
Defendant 2 has a conviction on 07/18/2007 for Intent to Distribute 178 LBS. Marijuana (Felony). 18 months
prison / 24 months probation.
Defendant 2 has a conviction on 01/04/2010 for Probation Violation. 5 months prison.
Defendant 3 has a conviction on 08/04/2010 for DWI. 180 days jail / $750 USD fine.
